Case 3:05-bk-03817-JAF Doc 2595 Filed 07/28/05 Page 1 of 2

UNITED STATES BANKRUPTCY COURT FOR
FLORIDA MIDDLE BANKRUPTCY COURT

In re: Winn-Dixie Montgomery,
Inc - Trade Claims Chapter 11
Case Nos. 05-03817
Claim No.
Debtor.

NOTICE OF TRANSFER OF CLAIM
PURSUANT TO FRBP RULE 3001(e)(1)

1. TO: ARNEG INC ("Transferor")
[TRANSFEROR NAME & ADDRESS]
4243 LONATE DR

NAZARETH, PA 18064-8403

2. Please take notice of the transfer of $ 8,543.61 of your claim referenced above,

together with all applicable interest, fees and expenses related thereto (the "Transferred
Claim")

Transfer $8,543.61 to:

Madison Investment Trust - Series 3 ("Transferee")
[TRANSFEREE NAME & ADDRESS]

6310 Lamar Ave. Suite 120

Overland Park, KS 66202

No action is required if you do not object to the transfer of you claim.

ust, Ant

Kristy Stark)
Madison Liquidity Investors, LLC.
(800) 896-8913

999-000/Forms/27475.1
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EVIDENCE OF TRANSFER OF CLAIM

TO: Florida Middle Bankruptcy Coutt

AND TO: Madison Liquidity Investors, LLC.
6310 Lamar Ave, Suite 120
Overland Park, KS 66202

YY¥Q, Tc. [Name of Claimant], for good and valuable consideration, the teceipt and sufficiency of
which are hereby acknowledged and pursuant to the terms of a Transfer of Claim Agreement dated as of the date
hercof, does hereby certify that it has unconditionally and irrevocably sold, transferred and assigned to Madison
Liquidity Investors, LLC., its successors, with offices at 6310 Lamar Ave, Suite 120, Overland Park, KS 66202, and
assigns all right, title and interest in and to the Claim(s) of Claimant against Winn-Dixie Montgomery, Inc - Trade
Claims in the Florida Middle Bankruptcy Court , The case entitled In re Winn-Dixie Montgomery, Ine - Trade
Claims, with a Case Number of 05-03817 pending in the Court., including without limitation those receivables of
Claimant.

Seller hereby waives any notice or hearing requirements imposed by Rule 3001 of the Federa} Rules of
Bankruptcy Procedure, and stipulates that an order may be entered recognizing this Assignment of Claim as an
unconditional assignment and Buyer herein as the valid owner of the Claim. You are hereby requested to make all
future payments and distributions, and to give all notices and other communications, in respect to the Claim to
Buyer. .

IN WITNESS WHERE OF, dated as of the TT ~O>
[NAME OF CLAIMANT] a NER. UAC -
or NO SSA

(Signature of Claimant)

Print Name: Sinaron AY eo mnan S409.
HSYU8 Lonat “Dive ”? Rey,

(Address)

a Nazareth PA Kd(oY
3-ASA 31919

(85#/Tax ID)

By:
(Signature of Co-Claimant)

Print Name:

(Address)

(Address)

(SS#/Tax ID)
Transfer Agreement Number: 101947332

Accepted:
MADISON LIQ BITY INVESTORS, LLC

LSS, Wignut

(signature)

KRM SHO

(print name)

